
Carswell, Acting P. J., Johnston, Adel and MacCrate, JJ., concur; Wenzel, J., concurs in part and dissents in part, as indicated in the following memorandum: I concur and vote to affirm the order insofar as concerns the eight causes of action which were therein dismissed. I also concur with the majority of the court in the modification of the order to dismiss all the remaining causes of action, except the twenty-first and twenty-second, as to which causes of action I dissent and vote to dismiss same. I find myself in disagreement as to causes of action twenty-first and twenty-second, which the *1021majority finds state good causes of action. Cause of action twenty-first does not, in my opinion, state matter which is libelous per se, in that it charges plaintiff Wekstein with no crime nor necessarily injures him in his profession. Cause of action twenty-second clearly relates to a class and not an individual; the individual referred to as a shyster is clearly “ Mr. May ” and not as plaintiff Friedman contends “ meaning the plaintiff Friedman ”. I do not find a single good cause of action in the complaint.
